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10

11
                                   UNITED STATES DISRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

14
      ROBBIE POWELSON,
15
                                                      CASE NO. 3:22-CV-01809-EMC (RMI)
                   Plaintiff,
16
                  v.
17                                                    MEMORANDUM OF POINTS AND
18    CITY OF SAUSALITO, et al.,                      AUTHORITIES IN SUPPORT OF
                                                      DEFENDANT’S MOTION TO DISMISS
19                 Defendant.                         Action Filed: March 22, 2022
20
                                                      Trial Date: None set.
                                                      Date: January 12, 2023
21                                                    Time: 1:30 PM
22                                                    Judge: Hon. Judge Edward M. Chen
                                                      Dept.: Courtroom 5 – 17th Floor
23
                                                      F.R.C.P. 12(b)(1), 12(b)(6)
24

25

26

27

28

                                                 1.
                                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                            DEFENDANT’S MOTION TO DISMISS
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 1

 2                                             I.      INTRODUCTION
 3
            Defendant CITY OF SAUSALITO brings this instant motion to dismiss against Robbie
 4   Powelson’s (“Plaintiff”) entire action because Plaintiff’s claim is moot, he lacks standing, and he
 5   fails to state a claim. Plaintiff’s Complaint and Ex Parte Application for a Temporary Restraining
 6   Order (“TRO Application”) arise out of and relate to alleged retaliation by Defendant for Plaintiff’s
 7   participation in the Sausalito Homeless Union et al., v. City of Sausalito Case Number 3:21-cv-

 8
     01143 (“the Homeless Union lawsuit.”) and related pro se plaintiff’s claims. Both fail to establish
     that Defendant harmed him in any way. Moreover, Defendant and the Sausalito/Marin County
 9
     Chapter of the California Homeless Union (“Homeless Union”), of which Plaintiff was a
10
     representative, entered into a Settlement Agreement (“Settlement Agreement”) which provided select
11
     members with housing stipends in exchange for release of all members’ claims, including those
12
     related to or arising from the Homeless Union lawsuit. Plaintiff signed the agreement as an officer
13   and member of the Homeless Union and thus, released all his claims. Accordingly, this case is ripe
14   for dismissal on grounds of mootness pursuant to Federal Rules of Civil Procedure 12(b)(1) and for
15   failure to state a claim pursuant to Federal Rules of Civil Procedure 12(b)(6).

16
                                                II.    BACKGROUND
17
            On March 22, 2022, Plaintiff filed a Complaint alleging that Sausalito Police targeted him
18
     while living at Marinship Park and working on lawsuits for the unhoused people there. [ECF Dkt.
19
     No. 1, p. 5.] More specifically, Plaintiff alleges that the Sausalito Police threatened to impound his
20
     vehicle for unpaid parking tickets resulting from parking at Marinship Park while he was a plaintiff
21   in the Homeless Union lawsuit. [ECF Dkt. No. 1, p. 6.] The Complaint sought injunctive relief that
22   would prevent Sausalito Police from “intimidating [him] and violating [his] constitutional rights,”
23   prevent the Sausalito Police from impounding his vehicles, and consolidate his traffic ticket

24   violations into a single hearing in the District Court. [ECF Dkt. No. 1, p. 18.]

25           Plaintiff filed a TRO Application the same day. Plaintiff’s TRO Application sought to enjoin
26   the City of Sausalito from impounding his vehicles and allow him to contest all his parking ticket
27   violations in a single consolidated hearing with the District Court. [ECF Dkt. No. 1, p. 27.]

28

                                                          2.
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                  DEFENDANT’S MOTION TO DISMISS
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             On March 23, 2022, the Court entered an order relating Plaintiff’s instant case (Case Number
 1
     3:22-cv-01809-EMC) with that of the Homeless Union litigation where he was also a plaintiff. [ECF
 2
     Dkt. No. 8.] In the Homeless Union litigation, the Court granted Plaintiff, among others, various
 3
     interim relief and ordered Defendants to take or refrain from certain actions, including but not
 4
     limited to:
 5
             (a) On or about March 1, 2021, the District Court granted a preliminary injunction enjoining
 6
                   the City from enforcing the daytime camping prohibition in Resolution No. 6009 and
 7
                   closing and/or clearing the Dunphy Park encampment. [ECF Dkt. No. 20.]
 8
             (b) On or about May 26, 2021, the District Court issued an order modifying the preliminary
 9
                   injunction to allow the relocation of the encampment to Marinship Park, subject to the
10
                   City’s compliance with various requirements. [ECF Dkt. No. 48.]
11

12
             (c) On or about November 4, 2021, the District Court issued a temporary restraining order
                   enjoining the City from removing a shed at the encampment. [ECF Dkt. No. 59.]
13

14           (d) On or about December 13, 2021, the District Court issued an order modifying the
15                 preliminary injunction to allow relocation of the encampment to the Marinship Park

16
                   tennis courts, subject to the City’s compliance with various requirements. [ECF Dkt. No.
                   73.]
17

18           (e) On or about June 17, 2022, the District Court ordered the City to take certain actions with
19                 respect to its contractor Urban Alchemy and the filing of complaints and police reports.

20
                   [ECF Dkt. No. 133.]

21           On August 5, 2022, the Homeless Union and Defendants entered into a Settlement
22   Agreement whereby plaintiffs would release all claims in return for various relief, including but not
23   limited to, housing assistance funding and encampment management services. [ECF Dkt. No. 162, p.

24
     6-7.]

25           The Settlement Agreement defined “Encampments” as “a homeless encampment formed at
26   Dunphy Park in the City… [and the] encampment subsequently relocated to the field at Marinship
27   Park and then to the tennis courts at Marinship Park.” [ECF Dkt. No. 162, p. 5.] The Dunphy Park

28
     and Marinship Park encampments were collectively the “Encampments.” [Id.]

                                                           3.
                                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                   DEFENDANT’S MOTION TO DISMISS
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            Moreover, the Settlement Agreement defined “Lawsuit” as “On or about February 16, 2021,
 1
     Plaintiffs filed an Ex Parte Application for Emergency Temporary Restraining and Preliminary
 2
     Injunction and Complaint for Injunctive and Declaratory Relief in the United States District Court
 3
     for the Northern District of California, Case No. 3:21-cv-01143-EMC, naming as defendants the City
 4
     and several of its individual official and employees (the “Lawsuit”).” [Id.]
 5
            Finally, the Settlement Agreement defined “Claims” as “All of the claims, legal theories,
 6
     issues, and requests for relief raised by Plaintiffs during the litigation….” [Id.]
 7

 8
            In Section 8 of the Settlement Agreement (“Release”), the parties agreed to “on behalf of
     themselves and each of their respective… officers… [and] members… hereby release and absolutely
 9
     and forever discharge each other… from all claims, demands, causes of action, whether or not now
10
     known, suspected or claimed, which each ever had, now have, claim to have had, or may have had
11
     against each other relating to or arising from the Encampments, the Resolutions, the Lawsuit, the
12
     Claims, and the Interim Relief.” [Id. at p. 8.] Plaintiff signed the Settlement Agreement as the
13   Homeless Union’s officer and member. [Id. at p. 12.]
14
            On October 11, 2022, Plaintiff refused to sign the stipulated dismissal releasing his claims in
15
     the instant case pursuant to the Settlement Agreement he signed, alleging that his claims do not fall
16
     under the Settlement Agreement. [ECF Dkt. No. 72, p. 1.]
17
            Finally, on October 28, 2022, Plaintiff filed a writ of mandamus with the Court to declare that
18
     the Settlement Agreement would not bar his parking ticket appeals. [ECF Dkt. No. 75, p. 1.] This
19
     Court denied his motion as improper. [Id.] Defendant then gave Plaintiff notice of Defendant's
20
     intention to file the instant motion to dismiss on November 2, 2022.
21
            III.    PLAINTIFF’S CLAIMS ARISING OUT OF HIS COMPLAINT ARE NOW
22

23
                    MOOT.

24
            Standing and mootness are limitations on the federal courts’ subject matter jurisdiction and

25   may be the basis for Rule 12(b)(1) dismissal. Woltkamp v. Los Rios Classified Emp. Ass’n (E.D. Cal.

26   2021) 539 F.Supp.3d 1058, 1065. “Mootness is a prudential limitation on jurisdiction, triggered when

27   the injury giving rise to the case no longer exists, leaving no case or controversy for the court to

28   resolve.” Id., quoting Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc. (2000)
                                                           4.
                                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                   DEFENDANT’S MOTION TO DISMISS
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 1   528 U.S. 167, 189.
 2           Plaintiff’s claims arising from his Complaint are now moot. Plaintiff and Defendant signed

 3
     the Settlement Agreement on August 5, 2022. [ECF Dkt. No. 162.] Under the Release, Plaintiff
     agreed to “release and absolutely and forever discharge” all claimed causes of action “relating to or
 4
     arising from the Encampments, the Resolutions, the Lawsuit, the Claims, and the Interim Relief.”
 5
     [Id. at p. 12.]
 6

 7
             Plaintiff does not dispute that all the claims alleged in his Complaint arise out of and relate to
     alleged retaliation for his participation in the Homeless Union lawsuit against Defendant and for his
 8
     assistance with other related pro se plaintiffs’ cases. [ECF Dkt. No. 1, p. 5.] The claims at issue here,
 9
     then, should be discharged under the Release. Moreover, Plaintiff signed the Settlement Agreement
10
     as the Homeless Union’s officer and a member, thereby specifically articulating himself as a party to
11
     the Release. [ECF Dkt. 162 at p. 12.]
12
             Accordingly, the injury giving rise to his claim is no longer viable, and this Court cannot
13
     provide Plaintiff’s requested relief, ie an injunction preventing retaliation for participation in the
14
     Homeless Union lawsuit, any more.
15
                IV.    PLAINTIFF LACKS STANDING; THE COURT SHOULD DISMISS THE
16
                                                        ENTIRE ACTION
17

18           Under Article III a plaintiff must show (1) injury in fact, (2) a sufficient causal link between

19   the injury and the conduct complained of (i.e., it must be traceable), and (3) a likelihood that the
     injury will actually be redressed by a favorable decision. See Lujan v. Defenders of Wildlife, 504
20
     U.S. 555, 560-61 (1992). A plaintiff threatened with future injury has standing if “threatened injury
21
     is certainly impending, or there is a substantial risk that the harm will occur.” McGee v. S-L Snacks
22
     Nat'l, 982 F.3d 700, 709 (9th Cir. 2020).
23

24           1. Plaintiff Failed To Plead Facts Sufficient To Show An Injury-In-Fact.

25       As discussed above, Plaintiff’s Complaint fails to establish that he suffered an injury-in-fact by

26   Defendant. Plaintiff claims that Sausalito Police threatened to impound his vehicle for unpaid parking

27   tickets resulting from parking at Marinship Park while he was a plaintiff in the Homeless Union

28   lawsuit. [ECF Dkt. No. 1, p. 6.] According to this Court’s order denying Plaintiff’s TRO, Plaintiff’s
                                                           5.
                                               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1   vehicle was never impounded, nor was there irreparable harm as he had not legally parked his vehicle
 2   in the first instance. [ECF Dkt. 13, p. 5.] Moreover, Plaintiff cannot show the alleged injury is
 3   “certainly impending” as the Court found there did “not appear to be an impending impoundment of
 4   the vehicles at issue.” [Id.] Accordingly, there is a question as to if he even suffered an injury in fact at
 5   all.
 6            Thus, Plaintiff lacks standing, and his claim is subject to a 12(b)(1) dismissal.
 7
              V.      PLAINTIFF FAILED TO ESTABLISH AN INJURY UNDER WHICH RELIEF
 8
                           CAN BE GRANTED; THE COURT SHOULD DISMISS THE ENTIRE
 9                                                            ACTION
10
              Under Fed. R. Civ. P. 12(b)(6) a complaint is subject to a motion to dismiss if the Plaintiff,
11
     “fail[ed] to state a claim upon which relief can be granted….” A properly pled complaint must
12
     provide, “a short and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.
13
     Civ. P. 8(a)(2); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rule 8 requires that factual
14

15
     allegations be more than “labels and conclusions” or a “formulaic recitation of the elements of a cause

16
     of action.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Papasan v. Allain, 478 U.S. 265, 286

17   (1986)). A complaint, “must contain sufficient factual matter, accepted as true, ‘to state a claim to

18   relief that is plausible on its face.’” Id. at 678-79 (quoting Twombly, 550 U.S. at 555.) A “claim has

19   facial plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

20   inference that the defendant is liable for misconduct alleged.” Id. at 679.

21            1. Plaintiff Has Not Pled Sufficient Facts to State A Claim Upon Which Relief Can Be
22                 Granted.
23            Plaintiff failed to establish that there was any injury in fact or that he was likely to face an
24   injury as a result of the alleged retaliation by Sausalito Police. In his TRO Application and Complaint,
25   Plaintiff alleges that the Sausalito Police threatened to impound his vehicle for unpaid parking tickets
26   resulting from parking at Marinship Park while he was a plaintiff in the Homeless Union lawsuit.
27
     [ECF Dkt. No. 1, p. 6.] As noted in the Court’s order denying Plaintiff’s Application for TRO, “there
28

                                                             6.
                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                    DEFENDANT’S MOTION TO DISMISS
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 1   [did] not appear to be an impending impoundment of the vehicles at issue,” “both parties agree[d] that
 2   the truck was ultimately never towed,” and Plaintiff suffered no irreparable harm as he had not legally
 3   parked his vehicle in the first instance. [ECF Dkt. 13, p. 5.]
 4             Plaintiff’s Complaint similarly fails to establish that his vehicles have been towed or are likely
 5   to be towed in Sausalito in the immediate future with respect to his activities related to the Homeless
 6   Union lawsuit. Defendant has already settled such lawsuit and all claims related thereto. [ECF Dkt.
 7
     No. 162, p. 6-7.]
 8
               As such, there is a compelling basis for this Court to find that Plaintiff failed to establish any
 9
     facts which show that any relief is plausible on its face. Thus, the Court should dismiss Plaintiff’s
10
     claims.
11
                   VI.     PLAINTIFF SHOULD BE FOUND TO BE A VEXATIOUS LITIGANT
12
               District Courts have inherent power to enter pre-filing orders against vexatious litigants
13
     pursuant to the All Writs Act, 28 U.S.C. § 1651(a). Weissman v. Quail Lodge Inc., 179 F.3d 1194,
14
     1197 (9th Cir.1999). “Out of regard for the constitutional underpinnings of the right to court access,
15
     ‘pre-filing orders should rarely be filed.’” Ringgold--Lockhart v. Cnty. of L.A., 761 F.3d 1057, 1062
16   (9th Cir. 2014) (quoting De Long v. Hennessey, 912 F.2d 1144, 1147 (9th Cir. 1990)). Nevertheless,
17   “flagrant abuse of the judicial process cannot be tolerated because it enables one person to preempt
18   the use of judicial time that properly could be used to consider the meritorious claims of other

19   litigants.” De Long v. Hennessey, 912 F.2d 1144, 1148 (9th Cir.1990).

20             “When district courts seek to impose pre-filing restrictions, they must: (1) give litigants
21   notice and an opportunity to oppose the order before it is entered; (2) compile an adequate record for
22   appellate review, including a listing of all the cases and motions that led the district court to conclude

23   that a vexatious litigant order was needed; (3) make substantive findings of frivolousness or
     harassment; and (4) tailor the order narrowly so as to closely fit the specific vice encountered.”
24
     Ringgold--Lockhart, 761 F.3d at 1062 (brackets and internal quotation marks omitted). “The first and
25
     second of these requirements are procedural, while the latter two factors are substantive
26
     considerations that help the district court define who is, in fact, a vexatious litigant and construct a
27
     remedy that will stop the litigant's abusive behavior while not unduly infringing the litigant's right to
28   access the courts.” Id.
                                                             7.
                                                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                     DEFENDANT’S MOTION TO DISMISS
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            To decide whether the litigant's actions are frivolous or harassing, the district court must
 1
     “look at ‘both the number and content of the filings as indicia’ of the frivolousness of the litigant's
 2
     claims.’” De Long v. Hennessey 912 F.2d 1144, 1148 (9th Cir.1990) (quoting In re Powell, 851 F.2d
 3
     431 (D.C.Cir.1988)). “The plaintiff's claims must not only be numerous, but also be patently without
 4
     merit.” Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1059 (9th Cir. 2007) (quoting Moy v.
 5   United States, 906 F.2d 470 (9th Cir.1990)).
 6
            Here, Plaintiff has brought numerous frivolous motions against Defendant:
 7

 8
            (1) Plaintiff’s initial Motion for a TRO to prevent the impounding of his vehicles was
                patently without merit because (1) there was no impending impoundment of the vehicles
 9
                at issue, and (2) Plaintiff suffered no irreparable harm as he had not legally parked his
10
                vehicle in the first instance. [ECF Dkt. 13, p. 5.]
11

12
            (2) On March 29, 2022, Plaintiff then appealed the Court’s denial of the TRO to the Ninth
                Circuit Court of Appeals. [ECF Dkt. 16.] On April 22, 2022, the Ninth Circuit issued an
13
                order that the appeal was denied because an order denying a TRO is not appealable. [ECF
14
                Dkt 35.]
15

16
            (3) On April 7, 2022, Plaintiff filed a second motion for TRO to prohibit the Sausalito Police
                from “harassing or threatening him when he is at the Marinship Park encampment.” [ECF
17
                Dkt. 22, p. 1.] This TRO was again denied as Plaintiff could not provide a sufficient basis
18
                for any of the three elements necessary to obtain a TRO. [ECF Dkt. 31.]
19

20
            (4) On April 25, 2022, Plaintiff filed an opposition to the substitution of Mr. Gaus as
                Defendant’s attorney of record on various unintelligible bases including (1) his hiring has
21
                “coincided with a war of attrition against residents of the camp…;” (2) he is a comedian
22
                and has made jokes about people in Marin County which would prejudice his ability to
23
                “be a competent officer of the court…;” and (3) he was representing Defendants when
24
                Plaintiff was arrested under Penal Code 166 for violating a court order. [ECF Dkt. 34.]
25              This opposition was summarily denied by the Court as incognizable. [ECF Dkt. 35.]
26
            (5) On May 11, 2022, Plaintiff brought a motion to strike the declaration of Carlitos Berg for
27
                perjury. [ECF Dkt. 37.] The Court denied the motion as moot. [ECF Dkt. 48.]
28

                                                           8.
                                              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                  DEFENDANT’S MOTION TO DISMISS
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            (6) On October 28, 2022, Plaintiff filed a writ of mandamus with the Court to declare that the
 1
                Settlement Agreement would not bar his parking ticket appeals. [ECF Dkt. No. 74, p. 1.]
 2
                The Court denied his motion as improper because the District Court does not exercise
 3
                appellate jurisdiction over the state court. [ECF Dkt. No. 75.]
 4
            As illustrated above, Plaintiff brought frivolous and patently meritless motions against
 5
     Defendant throughout the litigation proceedings.
 6

 7          Moreover, Plaintiff signed a Settlement Agreement on August 5, 2022, voluntarily releasing

 8
     all his claims arising out of the Homeless Union lawsuit, including those alleged in his Complaint.
     [ECF Dkt. No. 162, p. 6-7.] However, Plaintiff continues to litigate these released claims through,
 9
     inter alia, his refusal to stipulate to a dismissal as required by the Settlement Agreement.
10

11          Thus, Plaintiff flagrantly abused the judicial process and preempted the Court’s time over

12
     other meritorious claims. Accordingly, the Court should find that Plaintiff is a vexatious litigant
     pursuant to the All Writs Act, 28 U.S.C. § 1651(a).
13

14                                          I.       CONCLUCION
15
            For the foregoing reasons, the Court should GRANT the instant motion to dismiss pursuant to
16
     Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), and should find Plaintiff a vexatious litigator
17   pursuant to the All Writs Act, 28 U.S.C. § 1651(a).
18

19

20

21

22
     Dated: December 2, 2022                        KAUFMAN DOLOWICH & VOLUCK, LLP
23
                                                    /s/ Arthur S. Gaus
24                                                  Arthur S. Gaus
25
                                                    Julianna Bramwell
                                                    Attorneys for Defendants
26                                                  CITY OF SAUSALITO, et al.

27

28

                                                           9.
                                                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                                                     DEFENDANT’S MOTION TO DISMISS
